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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                               )
DOMINGO ARREGUIN GOMEZ, et al.,                )
         Plaintiffs,                           )
                                               )
      v.                                       )
                                               )
DONALD J. TRUMP, President of the United       )   Civil Action No. 20-1419 (APM)
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )
                                               )
                                               )

                                               )
MOHAMMED ABDULAZIZ ABDULBAGI                   )
MOHAMMED, et al.,                              )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )   Civil Action No. 20-1856 (APM)
                                               )
MICHAEL R. POMPEO, Secretary,                  )
U.S. Department of State, et al.,              )
                                               )
             Defendants.                       )
                                               )

                                               )
CLAUDINE NGUM FONJONG, et al.,                 )
                                               )
             Plaintiffs,                       )
                                               )
      v.                                       )
                                                   Civil Action No. 20-2128 (APM)
                                               )
DONALD J. TRUMP, President of the United       )
States of America, et al.,                     )
                                               )
             Defendants.                       )
                                               )


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                                                      )
 AFSIN AKER, et al.,                                  )
                                                      )
                Plaintiffs,                           )
                                                      )
         v.                                           )
                                                             Civil Action No. 20-1926 (APM)
                                                      )
 DONALD J. TRUMP, President of the United             )
 States of America, et al.,                           )
                                                      )
                Defendants.                           )
                                                      )

                                                      )
 MORAA ASNATH KENNEDY, et al.,                        )
                                                      )
                Plaintiffs,                           )
                                                      )
         v.                                           )
                                                             Civil Action No. 20-2639 (APM)
                                                      )
 DONALD J. TRUMP, President of the United             )
 States of America, et al.,                           )
                                                      )
                Defendants.                           )
                                                      )


                                   JOINT STATUS REPORT

       The Parties respectfully submit this joint filing laying out their proposals for a time frame

within which Defendants must complete processing the reserved visas. Pursuant to the Court’s

Order of August 17, 2021, which required that the parties “attempt to negotiate a reasonable time

frame within which Defendants must complete processing the reserved visas,” ECF 237 at 52, the

Parties conferred via teleconference on August 23, 2021, but could not reach agreement regarding

a time frame within which Defendants must complete processing the reserved visas. Accordingly,

the Parties present their respective positions as follows:



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                                      Defendants’ Position 1

       In compliance with the Court’s Order, 2 the Government submits, consistent with its

position at the July 19, 2021 hearing, Oral Arg. Tr., ECF No. 236 (hereafter “Hr’g Tr.”), at 169:13-

173:21, that the Department of State (the “Department”) should be permitted to process the

reserved Fiscal Year (“FY”) 2020 Diversity Visas (“DVs”) during FY 2023, which begins October

1, 2022. Doing so promises to balance the competing interests of other visa applicants, the

Department’s responsibilities and competing priorities, and the Department’s limited resources

against the backdrop of an ongoing global pandemic and emergency consular needs in

Afghanistan.

       If, as Plaintiffs propose, the Court were to order the Department to complete processing of

FY 2020 DVs by January 31, 2022, the Department would need to begin processing those reserved

visas immediately. The Department, however, currently lacks the consular resources necessary to

do so for two reasons.

       First, the Department’s Visa Office, and its leadership, is fully engaged in evacuation

efforts, including providing emergency visa assistance to Special Immigrant Visa (“SIV”)




1
  The Government would like to bring to the Court’s attention that it terminated the meet-and-
confer teleconference early on August 23, 2021, because of ad hominem comments by Plaintiffs’
counsel (subsequently posted on social media) that the Government concluded were abusive and
counter-productive. The Government raises this issue here because Plaintiffs’ counsel is presently
seeking to be appointed as class counsel in Rosales v. Biden, 21-cv-1874-APM, which the
Government opposes.
2
  The Government proposes a timeframe to process the reserved visas to comply with the Court’s
Order. The Government’s proposal, however, does not constitute any waiver of its right to appeal
the Court’s forthcoming final order in this matter.

                                                 3
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applicants seeking to depart Afghanistan. See Declaration of Neal Vermillion, at ¶ 11. 3 Many

consular officers overseas, including those at posts in third countries where Afghan evacuees are

being received, are focused on managing the crisis in Afghanistan. Id. As a result, the Department

currently has very few resources to focus on the number of changes necessary to replace current

worldwide guidance related to DV processing. Id.

       Second, the Department currently lacks the information systems infrastructure to process

DV applications after the conclusion of a particular FY. See Declaration of Gulcin Halici, at ¶¶ 2-

4, 6. The Department’s information systems are designed only to process DV cases from active

program years, and systems modifications would be necessary to resume processing DV cases

from an expired program year. Id. ¶ 2. An order from this Court directing the Department

immediately to resume processing DV applications for a past FY would create an unprecedented

computing demand that will require the Department to implement wide-ranging hardware and

software modifications. Id. The Department anticipated the need to process DV applications after

the conclusion of a FY in the event of an adverse order, id. ¶ 8, and estimates that resumption of

processing FY 2020 DV cases at the beginning of FY 2023 will allow sufficient time to make all

necessary system modifications. Id. ¶ 9. Given the number of high priority development projects

that the Department is managing to address known and urgent needs, it could not justify diverting

resources from those projects to work on a project to implement a court order that had not yet been

issued and which could shape the scope of the entire project.



3
  The Government will lodge the declarations of Neal Vermillion, Division Chief, Outreach and
Inquiries Division, Office of Field Operations of the Visa Office, Bureau of Consular Affairs, U.S.
State Department”) and Gulcin Halici, Team Lead, Systems Development and Liaison Team,
Office of Information Management and Liaison of the Visa Office, Bureau of Consular Affairs,
U.S. State Department, separately after the Parties file this Joint Status Report.
                                                 4
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       Even if the Department had the consular capacity and computing capability immediately

to resume processing FY 2020 DV applications, in light of the backlog of visa applications that

the COVID-19 pandemic has caused and continues to cause, the Department is unable to process

FY 2020 DV applications without delaying the adjudication of other visa applicants. Due to the

effects of the COVID-19 pandemic, the Department currently faces a backlog of over 500,000

immigrant visa applications, including the close family members of U.S. citizens and lawful

permanent residents and current DV applicants. Declaration of Neal Vermillion, at ¶¶ 2, 9. To

ensure the health and safety of consular staff, visa applicants, and the global public, the Department

has had to limit capacity at diplomatic posts worldwide. Id. ¶ 7. In many instances, the health of

consular staff, local public health conditions, and COVID-related restrictions further limit the

Department’s ability to conduct interviews and process visas. Id. To reduce the backlog in visa

adjudication, consistent with Congress’s direction in the Immigration and Nationality Act, the

Department has prioritized reducing the wait time for the immediate family members of U.S.

citizens. Id. ¶ 9. Ordering the Department to begin adjudicating FY 2020 DVs immediately would

disturb this prioritization and necessarily require the Department to delay the adjudication of all

categories of visas. The relief that Plaintiffs seek would put them ahead in line of all other visa

applicants; even with the delays DV 2020 selectees have faced, they have not been waiting as long

as many other Immigrant Visa applicants. See U.S. Dep’t of State Bureau of Consular Affairs, Visa

Bulletin for August 2021 4, (indicating that a son or daughter of an American citizen (F1

classification) must have a priority date before November 22, 2014 to apply for an immigrant visa;




4
 Available at https://travel.state.gov/content/travel/en/legal/visa-law0/visa-bulletin/2021/visa-
bulletin-for-august-2021.html (last visited August 25, 2021).
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that the son or daughter of a lawful permanent resident (F2B classification) must have a priority

date of September 22, 2015 to apply; that the married son or daughter of a U.S. citizen (F3

classification) must have a priority date before November 8, 2008 to apply; and that the sibling of

a U.S. citizen (F4 classification) must have a priority date of March 1, 2007 to apply.). Notably,

Plaintiffs’ proposals to fast track the adjudication of the reserved FY 2020 DV applications would

come at the expense of other Gomez plaintiffs who filed family-based immigrant visa petitions and

are still waiting for the visa applications of their beneficiaries to be adjudicated. 5 Moreover, as the

Government noted at the July 19, 2021 hearing, see Hr’g Tr., at 172:9-17, an order from this Court

prioritizing the adjudication of FY 2020 DV applications would invariably delay the Department’s

ongoing adjudication of FY 2021 DV applications and the future adjudication of FY 2022 DV

applications. This, in turn, would place FY 2020 DV applicants ahead of FY 2021 DV applicants

and, when the new fiscal year starts on October 1, 2021, it would place FY 2020 applicants ahead

of FY 2022 applicants. Notably, counsel for the Mohammed, Fonjong, Kennedy, and Aker

Plaintiffs represent DV selectees from both FY 2020 and FY 2021. Delaying the Department’s

adjudication of FY 2021 DV applications may likely also create a perennial basis for future

litigation concerning visa adjudication against the Department.

       By contrast, an order permitting the Department to process FY 2020 DV applications

during FY 2023 would minimize disruptions to the Department’s current operations. It would

permit the Department to plan for the additional workload, allocate the resources associated with

processing FY 2020 DV applications, and develop the necessary computer infrastructure. Doing




5
 The Department believes that three of the named Gomez plaintiffs fall into this category as they
are awaiting adjudication of family-based immigrant visa petitions.
                                              6
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so would also afford the Department the ability to continue processing DV visas without additional

disruption to other categories of visa applications—including applications from FY 2021 and FY

2022 DV applicants. Permitting the Department to process FY 2020 DV applications during FY

2023 would not unduly prejudice Plaintiffs in this matter as it will still permit them the opportunity

to seek to immigrate to the United States as the beneficiary of a diversity immigrant visa. Finally,

an order permitting the Department to process FY 2020 DV applications during FY 2023 would

grant the Department the flexibility to respond to urgent visa processing needs, such as those that

have arisen recently in Afghanistan.

                                    Gomez Plaintiffs’ Position 6

       The Court “order[ed] Defendants to in good faith adjudicate DV-2020 applications until

the [9,095] reserved diversity visas for the 2020 Fiscal Year are filled.” ECF 237, at 52. “As for

timing,” the Court directed the parties to “notify the court by August 25, 2021, whether they have

agreed to a time within which to process the reserved visas.” Id. at 52, 53. Consistent with the

Court’s order, counsel have exchanged e-mail correspondence, and also met and conferred

telephonically on August 23, 2021, but have not been able to agree to a time frame for processing


6
  Defendants’ footnote 1 misrepresents the meet-and-confer telephone call of August 23, 2021.
The teleconference was not “terminated . . . early” by either side. Defendants entered the call
unwilling to compromise their position, which they had proffered at the July 19 summary
judgment hearing, but which this Court’s order (ECF 237) did not entertain—that the visas
reserved in Gomez II should not be processed under fiscal year 2023. Defendants further
declined Plaintiffs’ requests for additional information, which are summarized in Plaintiffs’
statements below. Once it became clear that Defendants’ intransigence would foreclose
compromise, the call concluded with agreement between the parties regarding a schedule for
preparing this joint submission.
At all events, counsel for the Gomez Plaintiffs and the class wish to make clear that they were
responsible for no “ad hominem” or “abusive” comments, and have made no social media
postings about which Defendants could complain. (Class counsel in Gomez are not seeking to be
appointed as class counsel in Rosales.) Class counsel respectfully requested that Defendants
make this clear in their submission, but Defendants refused that request.
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the reserved visas.

       Specifically, Plaintiffs’ counsel tentatively proposed a deadline of January 31, 2022, for

the State Department’s adjudication of the 9,095 reserved visas. That date would take into account

the need for some lottery winners to make arrangements to complete the application process (e.g.,

making arrangements to travel to an open consulate to attend an interview), and would provide the

State Department more than five months to issue the 9,095 visas—a period that appears reasonable

given the fact that the State Department issued more than 7,000 diversity visas over the course of

less than a month in September 2020, during a peak in the Covid-19 pandemic. See Immigrant

Visa Issuances by Foreign State of Chargeability or Place of Birth September 2020 (FY 2020),

https://bit.ly/378AD8F.

       Class counsel clarified, however, that this tentative proposal is contingent on obtaining

from the State Department a better understanding of how it plans to complete the processing of

visas pursuant to the Court’s order. To this end, Gomez class counsel posed several questions to

the government, including:

   •   Whether the State Department (namely, the Kentucky Consular Center) will maintain
       lottery selectees’ rank order as reported in fiscal year 2020, or whether it instead intends to
       conduct a new lottery selection process;
   •   Whether the Department will schedule appointments for documentarily qualified
       applicants consistent with their regional lottery rank;
   •   Whether the Department will take steps to ensure that the reserved visas are allocated
       proportionally across the six geographic regions;
   •   Whether the Department will prioritize individuals who had interviews scheduled in 2020
       but which were canceled because of consulate and embassy closures; and
   •   Whether the Department will transfer interviews and cases away from consulates and
       embassies that are closed due to COVID-19 or other country-specific circumstances, such
       as the Kabul embassy.

Class counsel submit that understanding how the selection, interview, and issuance processes will

work is vital to any possible agreement regarding an appropriate time frame for completion of

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those processes. Defendants, however, have not yet provided any answers to Plaintiffs’ questions.

       Defendants instead proposed that “the reserved visas should be processed during Fiscal

Year 2023”—i.e., that processing should not begin until October 2022, more than a year from

now—on grounds that the State Department “does not have additional capacity” to adjudicate the

reserved 9,095 DV2020 visas during fiscal year 2022. Counsel refer to the COVID-19 pandemic,

the backlog of immigrant visa cases, and the present crisis in Afghanistan, and state that the State

Department’s internal computer software would need to be updated to permit issuance of fiscal

year 2020 diversity visas (an eventuality that could have been anticipated last September). Class

counsel respectfully submit that Defendants have not adequately explained how or why the State

Department would be impossible to adjudicate a single DV-2020 application before October 2022.

       The Gomez class is unable to agree to Defendants’ proposal. Class members are enduring

great hardships, not least of which is uncertainty regarding whether and when they may finally

obtain visas and be admitted into the country. Moreover, the Court has determined that the visas

in question should have been issued in 2020. The Gomez class respectfully submits that it would

be unreasonable to require lottery winners to wait more than two full years, and continue to put

their personal and professional lives, and financial futures, on hold.

       The class is not insensitive to the burdens that Defendants now face, but those burdens are

attributable in at least some substantial part to Defendants’ own conduct. In particular, the visa

backlog was generated as a result of Defendants’ unlawful policies with respect to visa processing

and issuance. See, e.g., ECF 237 (Defendants unlawfully suspended diversity visa adjudications);

Tate v. Pompeo, 513 F. Supp. 3d 132, 146 (D.D.C. 2021) (same as to O visas); Milligan v. Pompeo,

502 F. Supp. 3d 302, 316 (D.D.C. 2020) (same as to K visas); Young v. Trump, 506 F. Supp. 3d


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921, 944-46 (N.D. Cal. 2020) (same as to family-based visas). Any burden relating to computer

modifications must also fall on Defendants: The Government has known for nearly a year that

Plaintiffs were “highly likely to succeed on the merits,” Gomez v. Trump, 485 F. Supp. 3d 145,

201 (D.D.C. 2020), and that the Court was likely to order the State Department to process and to

issue 9,095 visas after the end of fiscal 2020, see Gomez v. Trump, 490 F. Supp. 3d 276, 294-95

(D.D.C. 2020), appeal dismissed, 2020 WL 7688214 (D.C. Cir. Dec. 14, 2020)—yet Defendants

apparently took no steps to prepare for that outcome. Defendants did not even advise Plaintiffs or

the Court of this concern.

       The class further respectfully submits that any additional burden imposed by a requirement

to adjudicate the 9,095 reserved diversity visas appears slight in the context of Defendants’ overall

annual visa adjudications: The State Department historically has issued well over 500,000

immigrant visas per year, as well as well over 9 million nonimmigrant visas per year. Even in

2020, with the Proclamations in place and consular operations restricted, the State Department

issued more than 240,000 immigrant visas and more than 4 million nonimmigrant visas. 7 See

Immigrant and Nonimmigrant Visas Issued at Foreign Service Posts, Fiscal Years 2016-2020,

https://bit.ly/3jbsUgh.

       For the foregoing reasons, counsel have not reached an agreement on a reasonable time




7
  The government cites no factual basis for its speculative claim that requiring it to process the
reserved DV 2020 visas before October 2022 would have any appreciable impact on the three
Gomez family-based visa applicants who have yet to have their visas issued. Those visas are
among those that ought to have issued already if not for Defendants’ unlawful actions. In any
event, those Plaintiffs’ claims are now moot. Class counsel are simply asking the government to
fulfill the Court's order in a reasonable time and the government’s proposal unreasonably delays
relief to the class members.

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frame for processing the reserved visas. Class counsel object to the government’s proposal to

postpone issuance of the reserved DV 2020 visas until Fiscal Year 2023, but would welcome the

opportunity to discuss these issues in greater detail at a status hearing or in additional briefing.

Class counsel respectfully submit that given Defendants’ unique access to relevant information

and their failure to date to respond substantively to Plaintiffs’ inquiries, Defendants should bear

the burden to justify any further delay in adjudicating the reserved visas. In this regard, class

counsel observe that Defendants rely on declarations that they propose to “lodge” with the Court

after this filing is submitted; Defendants apprised Plaintiffs of the declarations’ existence only at

5 p.m. today, and refused Plaintiffs request to provide the declarations to Plaintiffs prior to this

submission. Class counsel respectfully submit that the Court ought not base any decision on such

late-disclosed evidentiary submissions without, at minimum, allowing Plaintiffs an opportunity to

respond to the new declarations and to test the veracity of the averments therein.

                                     Aker Plaintiffs’ Position

       On August 17, 2021, this Court “order[ed] Defendants to in good faith adjudicate DV-2020

applications until the [9,095] reserved diversity visas for the 2020 Fiscal Year are filled.” ECF

237, at 52. “As for timing,” the Court directed the parties to “notify the court by August 25, 2021,

whether they have agreed to a time within which to process the reserved visas.” Id. at 52, 53. The

parties have not agreed to a time frame for processing the reserved visas.

       Aker Plaintiffs’ counsel propose that this Court order a deadline of January 31, 2022, for

the State Department to complete adjudication and issue the 9,095 reserved visas. This will give

the State Department sufficient time to issue the 9,095 visas, at a rate of 1,500 or so visas a month

spread out over 150 or more consulates. These 1500 monthly (more or less) DV immigrant visa

issuances cannot possibly cause so much strain and consternation at individual consulates that
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Defendants would instead need more than two years to adjudicate them. Further, software

modifications to update the Defendant’s system to allow for issuance of DV2020 viasas in FY2022

cannot possibly take a year to make. Defendants have not given any detailed plan to this court on

how or when it will actually adjudicate these cases, and have not even said what efforts they have

made since September 30, 2020 to update their computer system to allow for this visa issuance,

knowing that a preliminary injunction was in place on this exact issue. Apparently, for a year,

Defendants have literally done nothing to deal with what they had to anticipate would become a

final order. Whether the result of mismanagement or willful delay, the result is the same.

Defendants wish for Plainitffs to bear the burden of their own inaction. Further, Defendants have

already been paid by Plaintiffs for these visa issuances (and by thousands more who will not get

visas at all), and, in light of Defendants hiring of new foreign service officers over the last 8 months

and ongoing hiring 8 for consular officer positions, any time frame longer than 6 months after this

Court’s final order would be inherently unreasonable.

      Aker Plaintiffs also asked Defendants the following questions, in light of this court’s Order,

answers to which could speed up consular processing of these 9,095 permitted visas; Defendants

have refused to answer these questions. Unfortunately, operating in this opaque manner makes

this Court’s order more difficult to carry to fruition and to ascertain who, exactly, could be

expected to receive visas, including the 12 remaining Aker Plaintiffs, all of whom were previously

scheduled for appointments in September 2020, but who were not permitted to leave their country

(Belarus) to attend their visa appointment. These questions (in addition to those noted in the

Gomez section) are:



8
    See, https://careers.state.gov/work/available-jobs/
                                                   12
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   •   Will DOS reopen and reinterview individuals’ cases who were denied solely because of

       the Muslim Ban for DV2020?

   •   Will DOS include individuals who were interviewed but whose cases were denied due to

       the expiration of the fiscal year or whose administrative processing extended beyond the

       end of the fiscal year?

   •   Does DOS agree that the Court’s order stating that all individuals with expired DV2020

       visas can now enter the US, regardless of visa expiration date?


       Aker Counsel believes that answers to these questions can help narrow who is eligible

   according to Defendants processing protocols, and set the expectations of all Plaintiffs for

   allocation of these 9,095 reserved visas.

                         Mohammed, Fonjong, and Kennedy Plaintiffs’ Position

       On August 17, 2021, this Court “order[ed] Defendants to in good faith adjudicate DV-2020

applications until the [9,095] reserved diversity visas for the 2020 Fiscal Year are filled.” ECF

237, at 52. “As for timing,” the Court directed the parties to “notify the court by August 25, 2021,

whether they have agreed to a time within which to process the reserved visas.” Id. at 52, 53. The

parties have not agreed to a time frame for processing the reserved visas.

       Mohammed, Fonjong, and Kennedy Plaintiffs’ counsel propose that this Court order a

deadline of January 31, 2022, for the State Department to complete adjudication and issue the

9,095 reserved visas. This will give the State Department sufficient time to issue the 9,095 visas.

This is reasonable given the fact that the State Department issued 37,932 immigrant visas in June

2021. See Immigrant Visa Issuances by Post June 2021 (FY2021), https://bit.ly/3kjgSkB. Should

the Defendants continue to adjudicate visas at their June 2021 pace, DV-2020 processing would

                                                13
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consume less than 5% of the Defendants’ current immigrant visa processing capacity over the next

five months.

         Plaintiffs have attempted to create a dialogue with the Defendants regarding the timeline

for processing of Plaintiffs’ immigrant visa applications to understand the underlying reasoning

supporting Defendants’ proposal begin processing DV-2020 cases in FY-2023. Defendants’ have

been unwilling to answer any of Plaintiffs’ questions regarding how they intend to implement or

what resources are being allocated to effectuate this Court’s Order. In fact, in an August 20, 2021

email,    Defendants’ counsel questioned whether “the Court has the authority to order the

processing of the reserved visas at all…” Plaintiffs’ reasonable questions, outlined below, remain

unanswered:

   •     Whether DOS is willing to facilitate transfers where embassies are closed or not issuing
         DVs and they are not currently facilitating transfers. (Moscow, Baghdad, Tirana, Kabul,
         etc);

   •     Whether Defendant President Biden considered the impact of the FY-2023 proposal on
         potential age-outs? Taking into account CSPA, how many older children of DV-2020
         selectees, many of whom who are named plaintiffs, will completely lose their opportunity
         to immigrate under the FY-2023 proposal? Would Defendants be willing to provide the
         court with a list of the named plaintiffs whose immigration paths are extinguished by the
         FY-2023 proposal?
   •     Whether Diversity Visa immigrant visa applicants will be turned away if they make the
         perilous journey to the Kabul airport, or will they be allowed on planes?

   •     When can DV-2020 selectees begin communicating with KCC and embassies about their
         files and documents?

   •     Whether there was anything DOS would like us to pass on to DV-2020 selectees so that
         they are better prepared.

   •     When the DV-2020 clients whose cases mysteriously do not appear on the status update
         on the CEAC portal can expect that to change.

   •     Whether there is a plan to turn the KCC phones back on.

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       Without any further explanation, other than the generalizations put forward by Defendants’

counsel, this Court should not accept the Defendants proposal. Mohammed, Fonjong, and Kennedy

Plaintiffs have undergone great prejudice by Defendants’ withholding of adjudications of their visa

applications. In fact, two Kennedy plaintiffs have passed away during the pendency of this

litigation, resulting in the lost opportunity for their remaining family members to immigrate to the

United States. Others, continue to face oppressive regimes, war, famine, and disease that they

would have otherwise escaped but for Defendants unlawful actions. 9 Subjecting Plaintiffs to an

additional two-year delay and the hardships caused thereby is not justice. For these reasons,

Mohammed, Fonjong, and Kennedy strongly urge the Court to reject the government’s proposal to

issue the reserved DV-2020 visas in FY-2023.

       Defendant’s claim that State Department software does not prevent the printing of DV-

2020 immigrant visas is false, as Defendants’ counsel Robert Caplen assisted Counsel Curtis Lee

Morrison in getting one printed in March 2021. See this DV-2020 printed in March:




9
 To the extent Defendants argue the plight of Afghans is a competing priority, 25 Mohammed
and Kennedy Plaintiffs rebut that they are actual Afghans, as were a total of 981 Afghani DV-
2020 selectees. See ECF No. 238.
                                                15
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         Also, MFK Plaintiffs object to Defendants’ plan to file declarations they won’t share with

us in advance of filing.

         To the extent the Gomez Class has invited more briefing and argument on the subject,

Mohammed, Fonjong, and Kennedy Plaintiffs’ do not find that this will be useful and only serves

to delay the adjudication of Plaintiffs’ visa applications. In the alternative, Mohammed, Fonjong,

and Kennedy Plaintiffs’ request that this Court order Defendants to submit a plan to the Court,

subject to objection by Plaintiffs, on how the Defendants will undertake to effectuate this Court’s

order.




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August 26, 2021                                Respectfully submitted,

BRIAN M. BOYNTON                               /s/ Andrew J. Pincus
Acting Assistant Attorney General, Civil       Andrew J. Pincus (D.D.C. Bar No. 370762)
Division                                       MAYER BROWN LLP
WILLIAM C. PEACHEY                             1999 K Street, NW
Director, Office of Immigration Litigation,    Washington, DC 20006
District Court Section                         Telephone: (202) 263-3000
COLIN A. KISOR                                 apincus@mayerbrown.com
Deputy Director
GLENN M. GIRDHARRY                             Matthew D. Ingber (pro hac vice)
Assistant Director                             MAYER BROWN LLP
JOSHUA PRESS                                   1221 Avenue of the Americas
Senior Litigation Counsel                      New York, NY 10020

/s/ Eric C. Steinhart                          Cleland B. Welton II (pro hac vice)
ERIC C. STEINHART                              MAYER BROWN MEXICO, S.C.
JAMES J. WEN                                   Goldsmith 53, Polanco
Trial Attorneys                                Ciudad de Mexico, 11560
U.S. Department of Justice, Civil Division
Office of Immigration Litigation – DCS
P.O. Box 868, Ben Franklin Station             Jesse M. Bless (D.D.C. Bar No. MA0020)
Washington, DC 20044                           AMERICAN IMMIGRATION LAWYERS
Tel: (202) 514-0618                            ASSOCIATION
Email: eric.c.steinhart@usdoj.gov              1301 G Street NW, Ste. 300
                                               Washington, D.C. 20005
Attorneys for Defendants
                                               Karen C. Tumlin (pro hac vice)
                                               Esther H. Sung (pro hac vice)
                                               JUSTICE ACTION CENTER
                                               P.O. Box 27280
                                               Los Angeles, CA 90027

                                               Stephen Manning (pro hac vice)
                                               Nadia Dahab (pro hac vice)
                                               Tess Hellgren (pro hac vice)
                                               Jordan Cunnings (pro hac vice)
                                               INNOVATION LAW LAB
                                               333 SW Fifth Avenue #200
                                               Portland, OR 97204

                                               Laboni A. Hoq (pro hac vice)
                                               LAW OFFICE OF LABONI A. HOQ
                                               Justice Action Center Cooperating Attorney
                                               P.O. Box 753

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                                South Pasadena, CA 91030
                                labonihoq@gmail.com

                                /s/Charles H. Kuck
                                CHARLES H. KUCK
                                Kuck Baxter Immigration, LLC
                                Bar No. 429940
                                365 Northridge Rd, Suite 300
                                Atlanta, GA 30350
                                404.816.8611

                                Greg Siskind
                                Siskind Susser PC
                                1028 Oakhaven Rd.
                                Memphis, TN 39118

                                Jeff D. Joseph
                                Joseph & Hall P.C.
                                12203 East Second Avenue
                                Aurora, CO 80011

                                /s/ Rafael Urena
                                Rafael Urena
                                Curtis Lee Morrison
                                Abadir Barre
                                The Law Office of Rafael Urena
                                925 N. La Brea Ave, 4th Floor
                                Los Angeles, CA 90038
                                Tel: (703) 929-4424
                                Fax: (929) 286-9584
                                curtis@curtismorrisonlaw.com
                                ru@urenaesq.com
                                abadir@barrelaw.com
                                Attorneys for the Plaintiffs

                                Counsel for Plaintiffs




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                                CERTIFICATE OF SERVICE

       I hereby certify that on August 26, 2021, I electronically filed the foregoing document with

the Clerk of the United States District Court for the District of Columbia by using the CM/ECF

system. Counsel in the case are registered CM/ECF users and service will be accomplished by the

CM/ECF system.



                                                     /s/ Eric C. Steinhart
                                                     ERIC C. STEINHART
                                                     Trial Attorneys
                                                     U.S. Department of Justice, Civil Division
                                                     Office of Immigration Litigation – DCS




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